Case 3:17-cv-00626-RGJ-LLK Document 30 Filed 03/28/19 Page 1 of 3 PageID #: 104




                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                               AT LOUISVILLE
______________________________________________________________________________

LARRY GAMES,                                           CASE NO. 3:17-cv-00626-RGJ-LLK
         Plaintiff,
                                                       ELECTRONICALLY FILED
       vs.
                                                       Judge Rebecca Grady Jennings
TRANS UNION, LLC; EXPERIAN
INFORMATION SOLUTIONS, INC.;
EQUIFAX INFORMATION SERVICES,
LLC;
            Defendants.
______________________________________________________________________________

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                    DEFENDANT TRANS UNION, LLC ONLY
______________________________________________________________________________

       Plaintiff Larry Games, by counsel, and Defendant Trans Union, LLC (“Trans Union”), by

counsel, hereby stipulate and agree that all matters herein between them have been compromised

and settled, and that Plaintiff’s cause against Trans Union only should be dismissed, with

prejudice, with each party to bear its own costs and attorneys’ fees.

                                                       Respectfully submitted,



Date: March 27, 2019                                   s/ Zachary L. Taylor (with consent)
                                                       Zachary L. Taylor, Esq.
                                                       Taylor Couch PLLC
                                                       130 Saint Matthews Avenue Suite 301
                                                       Louisville, KY 40207
                                                       Telephone: (502) 822-5000
                                                       Fax: (502) 822-2500
                                                       E-Mail: ztaylor@taylorcouchlaw.com

                                                       Counsel for Larry Games




                                             Page 1 of 3
Case 3:17-cv-00626-RGJ-LLK Document 30 Filed 03/28/19 Page 2 of 3 PageID #: 105




Date: March 28, 2019                          s/ Scott E. Brady
                                              William R. Brown, Esq. (IN #26782-48)
                                              Scott E. Brady, Esq. (IN #30534-49)
                                              (admitted Pro Hac Vice)
                                              Schuckit & Associates, P.C.
                                              4545 Northwestern Drive
                                              Zionsville, IN 46077
                                              Telephone: 317-363-2400
                                              Fax: 317-363-2257
                                              E-Mail: wbrown@schuckitlaw.com
                                                        sbrady@schuckitlaw.com

                                              Counsel for Defendant Trans Union, LLC




                                    Page 2 of 3
Case 3:17-cv-00626-RGJ-LLK Document 30 Filed 03/28/19 Page 3 of 3 PageID #: 106




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 28th day of March, 2019. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Zachary L. Taylor, Esq.                             Benjamin T. Verney, Esq.
 ztaylor@taylorcouchlaw.com                          bverney@jonesday.com
 Margaret Jane Brannon, Esq.                         Stephen J. Miller, Esq.
 mjbrannon@jacksonkelly.com                          sjmiller@jonesday.com
 John Michael Williams, Esq.
 williams@wktlaw.com

         The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 28th day of March, 2019,

properly addressed as follows:

 None.



                                                         s/ Scott E. Brady
                                                        William R. Brown, Esq. (IN #26782-48)
                                                        Scott E. Brady, Esq. (IN #30534-49)
                                                        (admitted Pro Hac Vice)
                                                        Schuckit & Associates, P.C.
                                                        4545 Northwestern Drive
                                                        Zionsville, IN 46077
                                                        Telephone: 317-363-2400
                                                        Fax: 317-363-2257
                                                        E-Mail: wbrown@schuckitlaw.com
                                                                  sbrady@schuckitlaw.com

                                                        Counsel for Defendant Trans Union, LLC




                                              Page 3 of 3
